               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:13 cr 79-10


UNITED STATES OF AMERICA                     )
                                             )
Vs.                                          )          ORDER
                                             )
JOHN LOLUIS PIVONKA.                         )
______________________________________       )


       THIS MATTER came before the undersigned pursuant to a Motion to

Withdraw as Attorney of Record (#55) filed by Defendant’s appointed counsel,

Jack W. Stewart. At the call of this matter on for hearing it appeared Defendant

was present with Mr. Stewart and the Government was present and represented

through Assistant United States Attorney, Don Gast. After hearing from Mr.

Stewart, it appeared to the Court that good cause has been shown for the granting

of the motion and the Government did not have any objection to the motion. The

motion will be allowed.

                                    ORDER

       IT IS, THEREFORE, ORDERED that the Motion to Withdraw as

Attorney of Record (#55) is hereby ALLOWED and Jack W. Stewart is permitted

to withdraw as counsel of record for the Defendant. It is further ORDERED that

the Office of the Federal Defender shall immediately appoint another attorney to


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represent the Defendant. Mr. Stewart is directed to exchange with Defendant’s

newly appointed counsel, any documents he has so that new counsel may be

assisted in representation of Defendant.

                                                   Signed: January 13, 2014




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